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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               Fort Worth Division

 Outsourcing Facilities Association, et al.,

                              Plaintiffs,

        v.                                       Case No. 4:24-cv-00953-P

 U.S. Food and Drug Administration, et al.,

                              Defendants.

                                 JOINT STATUS REPORT

    The parties submit this joint status report pursuant to this Court’s Orders dated

October 11, 2024, ECF No. 28, and November 22, 2024, ECF No. 31. The October 11, 2024

Order granted Defendants’ unopposed motion to voluntarily remand the challenged

decision to the United States Food and Drug Administration (FDA) and stayed

litigation pending further court order. The November 22, 2024 Order continued the stay

and ordered the parties to file a further joint status report by December 19, 2024.

    Upon re-evaluation, on December 19, 2024, FDA issued a declaratory order

regarding tirzepatide injection products, determining that the shortage is resolved and
providing for periods of enforcement discretion. See Exhibit A. Those periods are in

addition to the enforcement discretion that Defendants described in their unopposed

motion for voluntary remand. Defendants will continue, as described in the motion, to

exercise enforcement discretion and not take action against Plaintiffs and their members

for conduct arising from conditions that depend on tirzepatide’s inclusion on the drug

shortage list for two weeks beyond today’s decision. ECF No. 27 at 3. If Plaintiffs file a

motion for preliminary injunction within two weeks of today’s decision, Defendants

will continue to exercise such enforcement discretion through the Court’s resolution of

that motion. Id.
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    The parties believe that this case should continue to be stayed pursuant to the

Court’s October 11, 2024 Order, ECF No. 28, and intend, absent alternative direction

from the Court, to file a further joint status report or motion by January 2, 2025,

addressing the next steps in this litigation. The parties will confer regarding a

preliminary injunction briefing schedule, including the possibility of extending the

enforcement discretion period for Plaintiffs to file their preliminary injunction motion

beyond the two weeks described in Defendants’ unopposed motion. The parties

anticipate apprising the Court that, if Plaintiffs file a preliminary injunction motion

within the timeframe proposed in the January 2, 2025 filing, Defendants would continue

to exercise the enforcement discretion described in Defendants’ unopposed motion for

voluntary remand through the Court’s resolution of Plaintiffs’ motion.

 DATED: DEC. 19, 2024                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

    I hereby certify that this document, filed through the CM/ECF system, will be sent

via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


December 19, 2024                                /s/ Oliver McDonald
                                                 OLIVER MCDONALD
